           Case 1:17-vv-00666-UNJ Document 34 Filed 12/21/18 Page 1 of 2




              In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 17-666V
                                    Filed: November 26, 2018

* * * * * * * * * * * * * *                 *
ROBERT MELI,                                *             UNPUBLISHED
                                            *
              Petitioner,                   *
                                            *
v.                                          *             Ruling on Entitlement; Table Injury;
                                            *             Influenza (“Flu”) Vaccine;
SECRETARY OF HEALTH                         *             Guillain-Barre Syndrome (“GBS”)
AND HUMAN SERVICES,                         *
                                            *
              Respondent.                   *
                                            *
* * * * * * * * * * * * * * *
Phyllis Widman, Esq., Widman Law Firm, LLC, Ocean City, NJ, for petitioner.
Daniel Principato, Esq., U.S. Department of Justice, Washington, DC, for respondent.

                                   RULING ON ENTITLEMENT1

Roth, Special Master:

       On May 22, 2017, Robert Meli (“petitioner”) filed a petition for compensation under the
National Vaccine Injury Compensation Program (“the Program”)2 alleging that he received an
influenza vaccination on October 13, 2016, and thereafter suffered from Guillain-Barre Syndrome
(“GBS”). See Petition at 1.

        On November 26, 2018, respondent filed a report pursuant to Vaccine Rule 4(c) stating
that petitioner’s claim was appropriate for compensation. Resp. Rpt. at 1. Specifically, respondent

1
 Although this Decision has been formally designated “unpublished,” it will nevertheless be posted on the
Court of Federal Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-
347, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). This means the Decision
will be available to anyone with access to the internet. However, the parties may object to the Decision’s
inclusion of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party
has fourteen days within which to request redaction “of any information furnished by that party: (1) that is
a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-
10 et seq. (hereinafter “Vaccine Act” or “the Act”). Hereafter, individual section references will be to 42
U.S.C. § 300aa of the Act.
          Case 1:17-vv-00666-UNJ Document 34 Filed 12/21/18 Page 2 of 2



agrees with petitioner’s claim that he suffered the Table injury of GBS following influenza
vaccine. Id. at 3. Respondent further states that there is not preponderant evidence that petitioner’s
GBS was due to a factor unrelated to the vaccination. Id. Based on a review of the medical records,
respondent states that petitioner has met the applicable statutory requirements by suffering his
condition for more than six months and that, therefore, petitioner has satisfied all legal
prerequisites for compensation under the Act. Id.

       A special master may determine whether a petitioner is entitled to compensation based
upon the record. A hearing is not required. §300aa-13; Vaccine Rule 8(d). In light of respondent’s
concession and a review of the record, the undersigned finds that petitioner is entitled to
compensation.

       IT IS SO ORDERED.

                                                      s/Mindy Michaels Roth
                                                      Mindy Michaels Roth
                                                      Special Master




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